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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION

BRIAN BURBANK,                          )
                                        )
                  Plaintiff             )
      vs.                               )   Case No. 3:18-CV-800 RLM-MGG
                                        )
PLANET FORWARD, LLC d/b/a               )
PLANET FORWARD ENERGY                   )
SOLUTIONS, LLC,                         )
                                        )
                  Defendant             )


                      ORDER APPROVING SETTLEMENT

      The court GRANTS the joint motion to unseal the settlement agreement

[Doc. No. 14], FINDS that the settlement is a fair and reasonable resolution of a

bona fide dispute under the Fair Labor Standards Act, 29 U.S.C. § 219(b),

GRANTS the joint motion to approve the agreement [Doc. No. 7], and DISMISSES

all claims against the defendant with prejudice. The Clerk is directed to unseal

Doc. No. 9 and to enter judgment accordingly.

      SO ORDERED.

      ENTERED:      May 28, 2019



                                        /s/ Robert L. Miller, Jr.
                                     Judge
                                     United States District Court
